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AO 106 (Rev. 04/ 10) Application for a Search Warrant



                                        UNITED STATES DISTRICT COURT
                                                                           for the
                                                               Southern District of Ohio

               In the Matter of the Search of                                 )
          (Briefly describe the property to be searched                       )
           or identif'y the person by name and addres.1)
                                                                              )            Case No. 1:21-MJ-00899
           Priority Mail Parcel bearing Tracking Number                       )
 9505 5163 3172 1320 5028 26, addressed to Kevin Britten, 1241 Iliff
 Ave, Cincinnati OH 45205 with a return address ofKamar Williams,             )
                1507 Oakdale St, Pasadena CA 91106                            )

                                              APPLICATION FOR A SEARCH WARRANT
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of pe1jury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location) :
Priority Mail Parcel bearing Tracking Number 9505 5163 3172 1320 5028 26, addressed to Kevin Britten, 1241 Iliff Ave, Cincinnati OH 45205 with a return address
                                                   of Kamar Williams, 1507 Oakdale St, Pasadena CA 91106

located in the              Southern               District of                     Ohio                     , there is now concealed (identify the
                                                                 - - - - - - - - - -- - -
person or describe the property to be seized):
A quantity of a controlled substance and/or proceeds which are evidence thereot: and/or contraband, in violation of Title
21 , United States Code, Section 84 l(a)( I).

          The basis for the search under Fed . R. Crim. P. 4 l(c) is (check one or more) :
                 ~ evidence of a crime;
                 ~ contraband, fruits of crime, or other items illegally possessed;
                 D    property designed for use, intended for use, or used in committing a crime;
                 D    a person to be arrested or a person who is unlawfully restrained.

          The search is related to a violation of: Title 21
         Code Section                                                                     Offense Description
21 U.S.C. 841 (a) (1)                            Possession with intent to distribute a controlled substance


          The application is based on these facts:
See attached affidavit of U.S . Postal Inspector Alan J. Wilkins

           ~ Continued on the attached sheet.
           D     Delayed notice          days (give exact endi11g date if more than 30 days: - - - - - - ) is requested
                 under 18 U .S.C. § 3103a, the basis of which is set forth on the attac~  h@ ~


                                                                                                           Applidcmt 's signature

                                                                                             Alan J. Wilkins, U.S. Postal Inspector
                                                                                                          Printed name and title

Sworn to before me and signed in my presence.
via electronic means, specifically Facetime video.

Date:          Nov 19, 2021
                                                                                                             Judge 's signature
                                                                                                      Stephanie K. Bowman
City and state: Cincinnati, Ohio
                                                                                                  United States Magistrate Judge
                                                                                                          Printed name and title
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                                        AFFIDAVIT

      I, Alan J. Wilkins, having been duly sworn, depose and state:

1.    I am a United States Postal Inspector with the United States Postal Inspection Service
      (USPIS), assigned to the Cincinnati, Ohio Field Office. I have been employed by the
      United States Postal Inspection Service since June 1, 2013. I have investigative
      responsibility for southwest Ohio and northern Kentucky. Part of my investigative
      responsibility involves the use of the United States Mail in the illegal transporting of
      narcotics and other dangerous controlled substances and financial proceeds relating
      thereto.

2.    I have gained experience through completion of the Basic Inspector Training (BIT) in
      August of 2013. During BIT training, I was instructed in all phases of criminal
      investigation such as: criminal law, search and seizure, field enforcement techniques,
      firearms proficiency, drug and narcotics identification, drug and narcotics field testing,
      interviewing and evidence collection.      Since June 2013 I have worked with various
      federal, state, and local law enforcement agencies in the prosecution of crimes involving
      the U.S. Mail and the U.S. Postal Service including but not limited to mail fraud, bank
      fraud, mail theft, burglaries, robberies, homicides, dangerous mail investigations, and
      mailed narcotics.

3.    This Affidavit is made in support of a search warrant for the following property, namely
      the package associated with the following United States Postal Service ("USPS") Priority
      Mail Parcel bearing Tracking Number:

             a.     9505 5163 3172 1320 5028 26 (the "Subject Package")

     This Affidavit is made in support of a warrant to search the Subject Package for
     evidence of a crime as well as contraband, fruits of a crime or other items illegally
     possessed in relation to the following offense:

     a.      Possession with Intent to Distribute Controlled Substances, in violation of Title
             21 , United States Code,§ 841.

     Because this Affidavit is submitted in support of the application of the United States to
     search the Subject Package, it does not include every fact known concerning this
     investigation. I have set forth facts and circumstances that I have relied upon to establish
     probable cause to justify the issuance of a warrant to search the Subject Package. The
     Subject Package is currently being held at the USPIS Cincinnati Field Office.

4.   Based on my training and experience, I have become aware that drug traffickers
     frequently use Priority Mail Express and/or Priority Mail, services offered by the USPS,
     to transport narcotics and other dangerous controlled substances. As a result of
     investigations and successful controlled substance prosecutions where Priority Mail
     Express and/or Priority Mail were used, I have learned of certain characteristics
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      associated with other Priority Mail Express and/or Priority Mail items previously
      identified as containing narcotics or other dangerous controlled substances. Some of
      these characteristics include (but are not necessarily limited to or used on every
      occasion): false or non-existent return address, addressee is not known to receive mail at
      the listed delivery address, the package is heavily taped, the package is mailed from a
      known drug source location, labeling information contains misspellings, the label
      contains an illegible waiver signature, unusual odors emanating from the package, and
      the listed address is located in an area of known or suspected drug activity. I am aware
      that packages containing illegal narcotics can sometimes have correct return address or
      addressee information. Narcotics traffickers will use legitimate names of residents with
      or without their permission and knowledge in an attempt to conceal their illegal activities.

5.    On or about November 19, 2021, U.S. Postal Inspectors identified and intercepted the
      Subject Package from the Cincinnati Network Distribution Center located within the
      Southern District of Ohio.

      The Subject Package is further described as :

             Priority Mail Parcel bearing Tracking Number: 9505 5163 3172 1320 5028 26
             Weighing approximately 3 pounds and 13.9 ounces in a brown box. Postage paid
             was $24.35.

             Sender:        Kamar Williams
                            1507 Oakdale St
                            Pasadena CA 91106

             Addressee:     Kevin Britten
                            1241 Iliff Ave
                            Cincinnati OH 45205


6.    I observed the Subject Package and reviewed USPS tracking information, which
      indicated it was mailed from the Pasadena Main Post Office, Pasadena, CA 91109, on
      November 19, 2021.

7.    I searched the CLEAR database for the listed return address of the Subject Package.
      CLEAR is an investigative platform available to law enforcement and other government
      investigators that contains public-record data about people and businesses. The
      information obtained from the system indicated that there are no residents named Kamar
      Williams associated with that address.

8.    I searched the CLEAR database for the listed addressee of the Subject Package. The
      information obtained from the system indicated that Kevin Britten is associated with that
      address.




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9.       The Subject Package is coming from a know drug source location addressed to an area
         of known drug trafficking. Postal business records indicate multiple packages originating
         in a drug source location have been delivered to 1241 Iliff Ave., Cincinnati, OH 45205 .

10.     On or about November 19, 2021 , a U.S . Postal Inspector arranged for Sergeant Anthony
        Lange, Hamilton County Sheriffs Office, to utilize a narcotics canine to check the
        Subject Package. Sergeant Lange and his canine "Kylo" are a currently certified
        narcotics team. The team is certified by the Ohio Peace Officer Training Commission and
        the Ohio Office of the Attorney General. Sergeant Lange reports that "Kylo" passed all of
        his examinations and has successfully located hidden drugs in the past; I therefore
        consider "Kylo" to be reliable. Postal Inspectors met Sergeant Lange at the USPIS
        Cincinnati Field Office, where the Subject Package was placed in a separate office
        among several other similar packages and presented to "Kylo", who alerted positively to
        the presence or odor of a controlled substance upon the Subject Package. Attached to
        this Affidavit, and incorporated by reference, is a photocopy of the narcotic canine
        handler's record of examination.

11.     Based upon my experience and training, this information, along with the positive alert of
        narcotic canine "Kylo," is indicative of the Subject Package containing narcotics or
        proceeds relating thereof.

12.     Based upon the information contained in this Affidavit, I believe that there is probable
        cause to believe that the Subject Package will contain evidence and/or contraband, fruits
        of crime, or other items illegally possessed. Therefore, a search warrant to open the
        Subject Package is requested.


                                                     Further, your Affiant sayeth naught.

                                                            (ff( jwJti
                                                     Alan J. Wilkins
                                                     U.S. Postal Inspector



Subscribed and sworn to and before me this              19_ day of November 2021.
via electronic means, specifically Facetime video.



N;~ ,/{ &wma.u
Stephanie K. Bowman
United States Magistrate Judge




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      United States Postal Inspection Service
      Pittsburgh Division




                                            OFFICER AFFIDAVIT



I, SGT LANGE, AM, AND HAVE BEEN, EMPLOYED BY THE HAMILTON COUNTY SHERIFF'S

OFFICE, SINCE 1996. AMONG OTHER DUTIES, I AM CURRENTLY THE ASSIGNED HANDLER OF

NARCOTICS DETECTION             CANINE   "KYLO", WHICH   IS TRAINED AND CERTIFIED IN THE

DETECTION OF THE PRESENCE OR ODOR OF NARCOTICS DESCRIBED AS FOLLOWS:

Marijuana, Cocaine, Heroin, Methamphetamines, and their derivatives

ON 11/19/2021, AT THE REQUEST OF POSTAL INSPECTOR A. WILKINS I RESPONDED TO THE US

POSTAL INSPECTION SERVICE CINCINNATI FIELD OFFICE WHERE "KYLO" DID ALERT TO AND

INDICATE UPON THE FOLLOWING DESCRIBED ITEM:




USPS Priority Mail, Tracking Number 9505 5163 3172 1320 5028 26, addressed to

Kevin Britten, 1241 Iliff Ave, Cincinnati OH 45205, with a return address of Kamar

Williams, 1507 Oakdale St, Pasadena CA 91106.

BASED ON MY TRAINING AND EXPERIENCE AND THAT OF "KYLO", I CONSIDER THE ABOVE

DESCRIBED ITEM TO CONTAIN WITHIN OR UPON THE PRESENCE OR ODOR OF A NARCOTIC OR

OTHER DANGEROUS CONTROLLED SUBSTANCE.




Cincinnati Field Office
895 Central Avenue, Suite 400
Cincinnati, OH 45202-5748
Telephone: 513-684-8060
FAX: 513-684-8009
